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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                        Case No. 2:21-cv-05017-PCK-SIL
 --------------------------------------------------------------- x
 NOE GONZALEZ,

 Plaintiff,

                  -against-

 THE CHEESECAKE FACTORY RESTAURANTS,
 INC. d/b/a THE CHEESECAKE FACTORY,

 Defendant.
 --------------------------------------------------------------- x

       DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY AND COMPEL
                       INDIVIDUAL ARBITRATIONS

         Plaintiffs Noe Gonzalez and Keith Calvagno, like every other employee of Cheesecake

 Factory (“TCFI”), agreed to and were subject to TCFI’s arbitration policy. TCFI has entered into

 the record a Spanish-language arbitration agreement signed by Mr. Gonzalez as well as a certified

 true and accurate English-language translation of Mr. Gonzalez’ signed agreement. TCFI has also

 provided written policies related to its arbitration program, evidence that Mr. Calvagno was aware

 of TCFI policies (including the arbitration program), and a sworn declaration from the Senior

 Director of Payroll, who has firsthand knowledge of TCFI’s policies and practices regarding

 hiring, onboarding, and the requirement that all new hires since 2002 agree to resolve disputes via

 the TCFI Alternative Dispute Resolution Program. Finally, TCFI also now provides a firsthand

 account of Mr. Calvagno’s hiring and onboarding from the General Manager who hired and

 onboarded Mr. Calvagno, Javier Gomez. Mr. Gomez confirms that Mr. Calvagno signed the

 Arbitration Acknowledgment and that Mr. Calvagno’s employment with TCFI was conditioned

 on his agreeing to resolve potential disputes via arbitration. In opposition, Plaintiffs provide no

 admissible evidence. In the face of TCFI’s overwhelming evidence, and Plaintiffs’ lack thereof,

 it is clear that Plaintiffs agreed to arbitrate their claims against TCFI. Accordingly, as is fully


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 articulated in TCFI’s motion and below, TCFI respectfully requests the Court stay this matter and

 compel Plaintiffs to individual arbitrations.

                                            ARGUMENT

        It is the “established law of this circuit that a party may be bound by an agreement to

 arbitrate even in the absence of a signature.” Brown v. St. Paul Travelers Companies, Inc., 331 F.

 App'x 68, 69–70 (2d Cir. 2009) (affirming district court decision to compel employee to arbitration

 absent a signed arbitration agreement) (quoting McAllister Bros., Inc. v. A & S Transp. Co., 621

 F.2d 519, 524 (2d Cir.1980). Absent the presence of a signed agreement “the conduct of the parties

 may lead to the inference of a binding agreement…[which] is just as binding as an express contract

 arising from declared intention, since in the law there is no distinction between agreements made

 by words and those made by conduct.” Id.

        In the case of Mr. Gonzalez, the Court need not venture down this path, as TCFI has

 produced the Employee Handbook Acknowledgment Form and the Arbitration Acknowledgment

 which were signed and initialed by Mr. Gonzalez. Mr. Gonzalez does not dispute that he signed

 these documents and therefore, he should be held to his promise to arbitrate his claims.

        In the case of Mr. Calvagno, there is ample evidence that TCFI and Mr. Calvagno’s conduct

 allows the Court to infer a binding agreement to arbitrate. As is shown below, Mr. Calvagno’s

 hiring and onboarding General Manager Javier Gomez testifies based on firsthand knowledge that

 Mr. Calvagno signed the Arbitration Acknowledgment and that Mr. Calvagno knew that signing

 the Arbitration Acknowledgment was a condition of his employment with TCFI. That TCFI is

 currently unable to locate the signed Arbitration Acknowledgment is irrelevant, as Mr. Gomez’

 firsthand account of Mr. Calvagno reading and signing the Arbitration Acknowledgment

 establishes that Mr. Calvagno was aware of the arbitration program and was aware that his

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 employment was conditioned on his signing the Arbitration Acknowledgment.                  With this

 established, the Court need look no further than Mr. Calvagno’s approximately fourteen (14) years

 of employment with TCFI to infer Mr. Calvagno’s intent to be bound by the conditions of his

 employment—including his agreement to arbitrate disputes with TCFI.

 I.     Plaintiff Gonzalez Is Bound To Arbitrate His Claims

        TCFI provided Mr. Gonzalez with a Spanish language version of the Employee Handbook,

 including the Employee Handbook Acknowledgment Form at the start of his employment. ECF

 18-2 at ¶ 7; ECF 18-2 Exhibit C. Mr. Gonzalez signed his initials “N.G.” next to every one of the

 nine acknowledgment paragraphs, including the Arbitration Acknowledgment. Id. Further, Mr.

 Gonzalez also printed his named, signed his name, provided the date, and identified his restaurant

 location when he acknowledged receipt of his Employee Handbook and agreed to resolve his

 differences with TCFI “in arbitration proceedings.” ECF 18-2 at p. 71. Notably, Plaintiffs make

 no claim that Mr. Gonzalez didn’t sign the Employee Handbook Acknowledgment Form and initial

 the Arbitration Acknowledgment. Instead, Plaintiff attempts to quibble with the English-to-

 Spanish translation of the Arbitration Acknowledgment originally provided to Mr. Gonzalez

 during his onboarding. Given TCFI’s submission of a true and accurate translation from a Court

 certified interpreter, such arguments have no merit.

        The Court previously warned that “Plaintiff would be well-advised to submit a competing

 translation of the agreement if he wishes to argue that a genuine factual dispute as to whether

 arbitration is compelled exists.” (ECF 34 at fn. 2). Plaintiffs ignore this warning and fail to submit

 any competing translation of the Arbitration Acknowledgment. This is likely because the version

 submitted by TCFI is in fact a fair and accurate translation. Unlike Plaintiffs, Defendant heeded

 the instructions of the Court and engaged a Federally Certified Court Interpreter who has “the top

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 certification for linguists working in Spanish in the United States federal legal system.” (Exhibit

 2, Krochmal Translation Certificate of Accuracy). Defendant submitted Krochmal’s English

 translation of the Spanish version of the Arbitration Acknowledgment signed by Mr. Gonzalez.

 (Ex. 2 at p. 2-3). For ease of comparison, TCFI provides both English versions of the Arbitration

 Acknowledgment below:

         Original TCFI English Version:

         “I recognize that differences may arise between me and the Company during, or following,
 my employment with the Company. I agree to participate in impartial dispute-resolution
 proceedings as a condition of and as consideration for the offer of employment by the Company.
 If I, or the Company, determine that the Company’s initial procedures for handling claims
 (including but not limited to, reporting claims to my manager, the Area Director of Operations, the
 CARELINE, and/or the Staff Relations Department), have not resulted in a mutually acceptable
 resolution of disputes between me and the Company, I agree to participate in arbitration
 proceedings.”

 (ECF 18-2 at p. 71).

         Krochmal English Translation of Spanish Version Signed By Gonzalez:

         “I acknowledge that differences may arise between the Company and I during and after my
 employment with the Company. I agree to participate in an impartial conflict resolution
 proceeding as a condition of and in consideration of the Company’s offer of employment. If either
 I or the Company determine that the Company’s initial procedures for handling claims (including
 but not limited to, reporting complaints to the Manager, the Operations Director, to CARELINE,
 and/or to the Personnel Relations Department), have not produced a mutually acceptable resolution
 to any dispute between the Company and myself, I agree to participate in an arbitration procedure.”

 (Ex. 2 at p. 3)

         A careful reading of both English versions of the Arbitration Acknowledgment signed by

 Mr. Gonzalez shows that any differences in translation (for example, “I recognize” v. “I

 acknowledge,” and “between me and the Company” v. “between the Company and I”) have no

 impact on the substance of the agreement. Both of these translations, identical in substance, make

 clear that Mr. Gonzalez did agree to settle disputes with TCFI “in arbitration proceedings.”

         Because they could not attack the substance of the Krochmal Translation Certificate of
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 Accuracy, Plaintiffs instead attempt to confuse the Court by claiming that Krochmal failed to

 identify what document he translated and failed to provide his translations of the Arbitration

 Acknowledgment. These arguments are unavailing, but in an abundance of caution TCFI provides

 a clarifying declaration from Krochmal, attached as Exhibit 3. In this declaration, Krochmal

 clarifies that:

     •   The Spanish document Krochmal translated to English is the Employee Handbook
         Acknowledgment Form signed by Mr. Gonzalez which is already in the record in this
         matter at ECF 18-2, pages 143-144. (Ex. 3 at ¶ 2).

     •   Krochmal’s English translation of the Spanish Employee Handbook Acknowledgment
         Form signed by Mr. Gonzalez is attached to his March 22, 2023 Translation Certificate of
         Accuracy as pages 2-3. (Id. at ¶ 3).

     •   Krochmal clarified that his English translation of the Spanish Employee Handbook
         Acknowledgment Form signed by Mr. Gonzalez is a “true and accurate translation” under
         the penalties of perjury. (Id. at ¶ 4).

     •   Krochmal reiterated his identity and qualifications to translate from Spanish to English and
         English to Spanish and swore to the same under the penalties of perjury. (Id. at ¶ 1).

     •   Krochmal clarified that, after finishing his own translation, the “original English-language
         document” he evaluated was the English version of the Employee Handbook
         Acknowledgment Form already in the record in this matter at ECF 18-2, pages 70-71, and
         the “original Spanish-language document” he evaluated was the Spanish version of the
         Employee Handbook Acknowledgment Form signed by Mr. Gonzalez which is already in
         the record in this matter at ECF 18-2, pages 143-144. (Id. at ¶ 5).

     •   Krochmal further clarified by “reasonable” translation, he intended to convey that the
         translation was “fair and accurate,” but simply used the word “reasonable” because there
         are multiple accurate ways to translate documents from Spanish to English and English to
         Spanish, as is evidenced by the slight variations in the TCFI English version of the
         Employee Handbook Acknowledgment Form and the Krochmal English translation. (Id.
         at ¶ 6).

         Given that (i) Mr. Gonzalez does not claim that he failed to sign or failed to understand the

 Arbitration Acknowledgment, (ii) Plaintiffs ignored the Court’s instruction to provide a

 “competing translation,”; and (iii) TCFI has provided a “true and accurate” Spanish-to-English

 Translation from a highly credentialed Court certified interpreter under the penalty of perjury, the
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 Court should conclude that Mr. Gonzalez is bound to arbitrate his claims against TCFI. The Court

 should stay this matter and compel Plaintiff Gonzalez to individual arbitration.

 II.    Plaintiff Calvagno Is Bound To Arbitrate His Claims

        Despite offering zero admissible evidence that Mr. Calvagno was somehow unaware of or

 failed to sign the Arbitration Acknowledgment that TCFI requires all new hires to sign, Mr.

 Calvagno continues to attempt to avoid his obligation to arbitrate his claims. In such scenarios,

 where Plaintiff’s entire argument rests not on evidence but on denials from their attorney, the

 Second Circuit holds that “it is not sufficient for the party opposing arbitration to utter general

 denials of the facts on which the right to arbitration depends.” Oppenheimer Co., Inc. v. Neidhardt,

 56 F.3d 352, 358 (2d Cir. 1995) (affirming district court decision granting motion to compel

 arbitration); see also Feroce v. Bloomingdale's Inc., No. 12-CV-5014 SJF GRB, 2014 WL 294199,

 at *4 (E.D.N.Y. Jan. 24, 2014) (granting motion to compel arbitration because “the party opposing

 may not rest on a denial but must submit evidentiary facts showing there is a dispute of fact to be

 tried.”). Notably, Plaintiffs fail to even make the “general denials” that the Second Circuit would

 deem insufficient. As is shown below and in TCFI’s Motion, there is no way Mr. Calvagno could

 have continued working for TCFI without agreeing to arbitrate any disputes.

        A.      The General Manager Who Hired And Onboarded Mr. Calvagno Confirms Mr.
                Calvagno Signed The Employee Handbook Acknowledgment Form And The
                Arbitration Acknowledgment

        The TCFI Arbitration program was in place at the time of Plaintiff Calvagno’s hire and

 continues to this day. By accepting his position with TCFI, Mr. Calvagno agreed to “participate

 in arbitration proceedings” to resolve his claims against TCFI. (ECF 18-2 at p. 71). As the internal

 investigation into Plaintiffs’ claims continues, TCFI was recently able to identify Javier Gomez,




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 the General Manager1 who hired, onboarded, and managed Mr. Calvagno from 2008 through

 approximately 2011 at the Lake Grove restaurant location.2

        As the General Manager, Mr. Gomez conducted many of the initial and all of the final

 interviews at the Lake Grove restaurant location from 2008 to 2011, including the final interview

 of Mr. Calvagno in March 2008. (Exhibit 4, Declaration of Javier Gomez, at ¶¶ 3-4). After

 conducting the final interview, Mr. Gomez then lead the onboarding and orientation process for

 all new hires at the Lake Grove location, including the onboarding and orientation of Mr.

 Calvagno. (Id.). As part of this onboarding, Mr. Gomez discussed TCFI’s expectations and

 policies, as well as required new hires, including Mr. Calvagno, to fill out all the forms and

 paperwork on the New Hire Paperwork checklist. (Id. at ¶¶ 5-6). During onboarding, Mr. Gomez

 ensured that all documents with an “X” in the “Servers” column of the New Hire Paperwork

 checklist were reviewed, filled out, and signed by all new servers, including Mr. Calvagno. (Id;

 Exhibit 4-A, New Hire Paperwork checklist). Per the policy, Mr. Gomez would ensure that new

 servers, including Mr. Calvagno, “sign the…handbook receipt & confidentiality agreement at the

 end of the Staff member Handbook.”        (Ex. 4 at ¶ 7; Ex. 4-A at p. 2).      The Arbitration

 Acknowledgement is contained in the handbook receipt. (Ex. 4 at ¶ 7). Further, per the policy,

 Mr. Gomez prepared and distributed 14 documents to each new hire, including the Staff Member

 Handbook. (Ex. 4 at ¶ 8; Ex. 4-A at p. 1). Mr. Gomez personally ensured that Mr. Calvagno

 received all 14 documents listed in the New Hire Paperwork, including personally ensuring that



 1
   Each TCFI restaurant location has one General Manager, who is the highest-ranking TCFI
 employee in the restaurant. (Ex. 4 at ¶ 2). As the General Manager, Mr. Gomez made the final
 decision on all new hires and was in charge of onboarding all new hires. (Id.).
 2
   As this new information was previously unavailable to TCFI counsel and became available only
 during the Reply briefing period, TCFI would not oppose the filing of a sur-reply by Plaintiffs
 should they so desire.
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 Mr. Calvagno received the Employee Handbook and that Mr. Calvagno signed the Arbitration

 Acknowledgment. (Ex. 4 at ¶¶ 8-9).

        During his time as the General Manager of the Lake Grove restaurant location from 2008

 to 2011, Mr. Gomez ensured that all new hires, including Mr. Calvagno, signed the Employee

 Handbook Acknowledgment Form—including the Arbitration Acknowledgment. (Id. at ¶ 9).

 From 2008 to 2011 at the Lake Grove location, Mr. Gomez is not aware of any new hire who

 refused to sign the Employee Handbook Acknowledgment Form or the Arbitration

 Acknowledgment. (Id. at ¶ 10). Further, Mr. Gomez was unable to enter any new hire into the

 system without that individual signing all the required paperwork, including the Employee

 Handbook Acknowledgment Form and the Arbitration Acknowledgment. (Id. at ¶ 11).

        In short, as the General Manager of Mr. Calvagno’s restaurant at his time of hire, Mr.

 Gomez hired Mr. Calvagno, onboarded Mr. Calvagno, and ensured that Mr. Calvagno was aware

 of and signed the Employee Handbook Acknowledgment Form and the Arbitration

 Acknowledgment. (Id. at ¶ 12).

        B.     Plaintiffs Offer No Evidence To Support Their Argument

        Plaintiffs provide no evidence of their own that Mr. Calvagno did not agree to arbitrate

 potential claims with TCFI—likely because they cannot. Plaintiffs instead attempt to oppose

 Defendant’s motion by misconstruing TCFI’s arguments in an attempt to confuse the issues. For

 example, Plaintiffs’ claim that TCFI is attempting to bind Mr. Calvagno to subsequent versions of

 the Employee Handbook. See Opposition at 7-10. This is incorrect. TCFI has entered into the

 record the 2005 Employee Handbook and Arbitration Acknowledgment. (ECF 18-2 at p. 70-71).

 This was the operative Handbook at the time Mr. Calvagno was hired and this is the arbitration

 language applicable to Mr. Calvagno. TCFI’s references to subsequent Employee Handbook

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 updates and message to employees about the updates via HotSchedules is only meant to underscore

 the fact that Mr. Calvagno could not claim to be unaware of the TCFI ADR program—a claim

 which notably Mr. Calvagno does not even make in opposition. Additionally, Plaintiffs claim that

 “it is undisputed that the applicable arbitration clause has not been provided to Plaintiff[.]”

 Opposition at p. 9. This assertion to the Court is wrong. The relevant arbitration clause—the

 Arbitration Acknowledgment which was presented to Mr. Calvagno by his General Manager Javier

 Gomez—has been on the Court’s docket since May 20, 2022. (ECF 18-2 at p. 70-71).

           Plaintiffs’ misleading claims only serve to highlight that Plaintiffs have no evidence of

 their own to offer. Regarding Mr. Calvagno, the record is clear that:

        1) TCFI had an ADR policy in place at the time Mr. Calvagno was hired and required all new
           hires to sign the Employee Handbook Acknowledgment Form and the Arbitration
           Acknowledgment during their initial onboarding; (Ex 1, Lewis Decl. at ¶¶ 2, 7; Ex 4,
           Gomez Decl. at ¶¶ 6-7);

        2) The General Manager who hired and onboarded Mr. Calvagno, Javier Gomez, personally
           provided Mr. Calvagno with and Employee Handbook and personally ensured that Mr.
           Calvagno signed the Employee Handbook Acknowledgment Form and the Arbitration
           Acknowledgment during onboarding; (Ex. 4 at ¶¶ 8-9, 11);

        3) Despite TCFI’s inability to locate Mr. Calvagno’s signed Arbitration Acknowledgment,
           Mr. Calvagno did receive the Employee Handbook Acknowledgment Form and the
           Arbitration Acknowledgment during onboarding and there is no reasonable way Mr.
           Calvagno could have continued to work for TCFI for fourteen (14) years without knowing
           he was bound to arbitrate any claims with TCFI; (Ex. 4 at ¶¶ 8-9, 11) and

        4) Mr. Calvagno has not denied signing the Arbitration Acknowledgment and has offered no
           admissible evidence contradicting TCFI’s evidence and argument.

           Accordingly, the Court should stay this matter and compel Plaintiff Mr. Calvagno to

 individual arbitration.

 III.      The Arbitration Acknowledgment Is Enforceable

           As the Second Circuit holds, there is a “presumption of arbitrability” and courts must

 “[r]esolv[e] all doubts in favor of arbitrability,” Hermes of Paris, Inc. v. Swain, No. 20-3451-CV,
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 2021 WL 5170726, at *2 (2d Cir. Nov. 8, 2021); see also Sunbelt Beverage Corp. v. Goldring, 205

 F.3d 1324 (2d Cir. 2000) (“Given the strong federal policy favoring arbitration as an alternative

 means of dispute resolution, we construe arbitration clauses as broadly as possible, and we resolve

 all doubts in favor of arbitrability. A contract’s broad arbitration clause creates a presumption in

 favor of arbitrability.”) (internal quotation marks and citations omitted). Plaintiffs fail to overcome

 this presumption and further fail to address the multiple federal courts that have reviewed the

 specific language of the Arbitration Acknowledgment and ruled that it does indeed require

 arbitration. See, e.g., EEOC v. Cheesecake Factory, Inc., No. CV08-1207PHXNVW, 2009 WL

 1259359, at *6 (D. Ariz. May 6, 2009) (“The Arbitration Agreement is neither procedurally nor

 substantively unconscionable…. The FAA, therefore, mandates compelling arbitration of

 Fitzpatrick’s and Miller’s claims.”); Sedelnikova v. The Cheesecake Factory Rest., Inc., No. CIV.

 A. AW-09-2398, 2010 WL 2367387, at *2 (D. Md. June 7, 2010) (“[T]he Court believes the

 provision qualifies as a valid agreement to arbitrate as the agreement was made with valid

 consideration, mutual assent and no fatal unconscionability.”); Smith et. al. v. The Cheesecake

 Factory Restaurants, Inc. et. al., No. 3:06-00829 (Doc. No. 107), at 17 (M.D. Tenn. Feb. 3. 2010)

 (ordering Plaintiffs to arbitrate their FLSA claims with TCFI based on the exact same language

 that Mr. Gonzalez signed). Accordingly, and as is fully discussed in TCFI’s Motion and below,

 the Court should hold the Arbitration Acknowledgment enforceable and compel Plaintiffs to

 individual arbitrations.

        A.      The Arbitration Agreement Is Enforceable And Not Illusory

        Plaintiffs attempt to undermine the enforceability of the Arbitration Agreement by claiming

 that because TCFI can amend the Employee Handbook without consulting with Plaintiffs, the

 Arbitration Agreement is illusory. This argument has been heard and rejected by this Court and

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 courts across New York many times, and Plaintiffs provide no reason to deviate from the case law

 here. See infra.

        As the Supreme Court holds, “a party’s challenge to another provision of the contract, or

 to the contract as a whole, does not prevent a court from enforcing a specific agreement to arbitrate.

 ‘[A]s a matter of substantive federal arbitration law, an arbitration provision is severable from the

 remainder of the contract.’” Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 70–71 (2010) (quoting

 Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 445 (2006)). The Rent-A-Center line of

 cases is applied by this Court and courts across New York to conclude that “a provision permitting

 the unilateral amendment of any term of contract does not, without more, render a separate

 provision, such as an arbitration provision, unenforceable on procedural grounds.” Paduano v.

 Express Scripts, Inc., 55 F. Supp. 3d 400, 417 (E.D.N.Y. 2014) (holding the arbitration provision

 was not procedurally unconscionable due to the unilateral amendment clause); see also Bassett v.

 Elec. Arts, Inc., 93 F. Supp. 3d 95, 106 (E.D.N.Y. 2015) (compelling arbitration because “the

 arbitration provision was not invalid as illusory simply because [defendant] had the unilateral right

 to modify the agreement.”); Nicholas v. Wayfair Inc., 410 F. Supp. 3d 448, 456 (E.D.N.Y. 2019)

 (granting motion to compel arbitration because “[t]he unilateral right to modify an agreement,

 without more, does not render the agreement unenforceable.”); Crispin Porter & Bogusky LLC v.

 Watson, No. 18-MC-384 (VSB), 2019 WL 5079916, at *4 (S.D.N.Y. Oct. 10, 2019) (compelling

 arbitration because clauses “found outside of the arbitration provision…[have] no bearing on [an]

 otherwise valid agreement to arbitrate.”)

        The Arbitration Agreement itself contains no mention of a unilateral ability of either party

 to modify it. (ECF 18-2 at p. 71). Plaintiffs’ attempt to read such a clause from a different section

 of the Employee Handbook into the Arbitration Agreement is ill-founded. And even if such a

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 clause could be read to effect the Arbitration Agreement (it does not), the Supreme Court holds

 that Arbitration Agreements are severable from such clauses and should be enforced. See Rent-A-

 Ctr., W., Inc., 561 U.S. at 70–71. Accordingly, the Court should find the Arbitration Agreement

 enforceable.

        B.      Agreeing to Arbitrate Claims Was And Is A Condition Of Employment

        Plaintiff argues that agreeing to the Arbitration Agreement was not a condition of

 employment and therefore the Agreement is not enforceable. Such an argument is unavailing. The

 record shows that acceptance of the terms of the Arbitration Agreement was and is a condition of

 employment. This is clear from the testimony of Mr. Calvagno’s hiring General Manager Javier

 Gomez (“Per TCFI policy…I ensured that Mr. Calvagno signed the Arbitration Acknowledgment”

 and “I could not enter new hires into the TCFI system without the new hire signing [the Arbitration

 Acknowledgment]”) (Ex. 4, Gomez Decl. at ¶¶ 7, 11) and TCFI’s Senior Director of Payroll

 Barbara Lewis (“in 2008, it was also TCFI policy to inform onboarding employees that their offer

 of employment and continued employment was expressly conditioned on them agreeing to the

 Arbitration Acknowledgment”) (Ex. 1, Lewis Decl. at ¶ 7). This is also clear from the policy

 documents produced by TCFI, which state that during onboarding, a General Manager “must also

 have the staff member sign the…handbook receipt & confidentiality agreement at the end of the

 Staff Member Handbook.” (Ex. 4-A, New Hire Paperwork checklist at p. 2) (emphasis added).

 Accordingly, Plaintiffs’ reliance on a case from outside of this District for the proposition that if

 the Arbitration Agreement wasn’t a condition of employment, it doesn’t need to be enforced, can

 be ignored. Not only is the case not binding on this Court, but acceptance of the terms of the

 Arbitration Agreement was and is a condition of employment.

        Because agreeing to the Arbitration Agreement was and is a condition of employment, the

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 Court should enforce the Arbitration Agreement.

 IV.    The Court Should Compel Binding And Individual Arbitration

        A.       The Court Should Compel Binding Arbitration

        Plaintiffs next argue that if the Court compels Plaintiffs to arbitration, such arbitration

 should not be binding. TCFI does not argue or intend for Plaintiffs to waive any rights to appeal

 the decision of an arbitrator. As the Second Circuit notes, “[s]ection 16(a)(3) of the Federal

 Arbitration Act permits an appeal to be taken from ‘a final decision with respect to an arbitration

 that is subject to this title.’” Oakley Fertilizer Inc. v. Hagrpota for Trading & Distribution, Ltd.,

 531 F. App'x 131 (2d Cir. 2013) (citing 9 U.S.C. § 16(a)(3)). If Plaintiffs are not satisfied with the

 outcome of their individual arbitrations, TCFI does not intend to attempt to deny Plaintiffs of their

 appeal right.

        B.       The Court Should Compel Individual, Not Class Arbitrations

        Plaintiffs’ argument that class-wide arbitration is available based on the Arbitration

 Agreement fails to address the arguments in TCFI’s Motion and does not distinguish binding

 Supreme Court law. It is well settled that “a party may not be compelled under the FAA to submit

 to class arbitration unless there is a contractual basis for concluding that the party agreed to do

 so.” Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S. 662, 684 (2010) (original emphasis).

 This Court previously relied on Stolt-Nielsen to compel individual arbitration when, such as here,

 the Arbitration Agreement is silent on the issue of class-wide arbitration. See e.g. Thompson v.

 Body Sculpt Int'l, LLC, No. 18-CV-1001-ARR-GRB, 2018 WL 3235545, at *7 (E.D.N.Y. July 2,

 2018) (compelling individual arbitration because “[e]ven a contract’s silence as to class arbitration

 is not enough to indicate that the parties have agreed to it, as ‘class-action arbitration changes the

 nature of arbitration to such a degree that it cannot be presumed the parties consented to it by

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 simply agreeing to submit their disputes to an arbitrator.’”) (quoting Stolt-Nielsen S.A., 559 U.S.

 at 684). Because the Arbitration Agreement here is silent on the issue of class arbitration, the

 Court should not read such a provision into the Agreement. Accordingly, the Court should compel

 Plaintiffs to individual arbitration.

                                          CONCLUSION

         Mr. Gonzalez does not dispute that he signed the Arbitration Acknowledgment and

 Plaintiffs fail to present a competing translation of the Spanish-language version of the Arbitration

 Acknowledgment that differs in substance from the TCFI English version of the agreement.

 Further, Mr. Calvagno also does not dispute that he signed the Arbitration Acknowledgment and

 the record now reflects a firsthand account of Mr. Calvagno signing the Arbitration

 Acknowledgment and of Mr. Calvagno being told about TCFI’s ADR policy during his

 onboarding—including that signing the Arbitration Acknowledgment was a condition of his

 employment with TCFI.          Accordingly, this Court should adhere to the Second Circuit’s

 “presumption of arbitrability” and the sound reasoning of other courts who have reviewed TCFI’s

 Arbitration Acknowledgment and compel both Mr. Gonzalez and Mr. Calvagno to individual

 arbitrations.


 Dated: August 21, 2023
                                                       Respectfully submitted,

                                                        /s/ James M. Coleman
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                                CERTIFICATE OF SERVICE

        I certify that the DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY

 CASE AND TO COMPEL INDIVIDUAL ARBITRATIONS was sent to Counsel for Plaintiffs

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